Case 2:22-cv-00293-JRG          Document 671 Filed 02/27/24      Page 1 of 13 PageID #:
                                          62153


                             UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

NETLIST, INC.,                            )
                                          )
              Plaintiff,                  )
                                          )   Case No. 2:22-cv-293-JRG
      vs.                                 )
                                          )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;              )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,              )
INC.; SAMSUNG SEMICONDUCTOR               )
INC.,                                     )
                                          )
              Defendants.                 )

NETLIST, INC.,                            )
                                          )
              Plaintiff,                  )
                                          )
                                              Case No. 2:22-cv-294-JRG
      vs.                                 )
                                          )
                                              JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;                  )
MICRON SEMICONDUCTOR                      )
PRODUCTS, INC.; MICRON                    )
TECHNOLOGY TEXAS LLC,                     )
                                          )
              Defendants.                 )

            PLAINTIFF NETLIST INC.’S MOTION FOR CONSOLIDATION
Case 2:22-cv-00293-JRG                        Document 671 Filed 02/27/24                                     Page 2 of 13 PageID #:
                                                        62154


                                                   TABLE OF CONTENTS

                                                                                                                                              Page

I.     FACTUAL BACKGROUND ........................................................................................................ 2

II.    MICRON’S USE OF AN IDAHO STATUTE TO HARRASS NETLIST........................... 4

III.   ARGUMENT .................................................................................................................................... 5

       A.          Netlist Suffers Severe Prejudice by Micron’s Continued Infringement ...................... 5

       B.          Consolidation at this Stage is the Most Efficient Avenue Forward for
                   This Court and the Federal Circuit ................................................................................... 6

       C.          A Consolidated Trial Is Easily Managed .......................................................................... 8

       D.          Trial Would Resolve Micron’s Abusive Idaho Action ................................................... 9

IV.    CONCLUSION ................................................................................................................................ 9




                                                                      -i-
Case 2:22-cv-00293-JRG                             Document 671 Filed 02/27/24                                   Page 3 of 13 PageID #:
                                                             62155


                                                    TABLE OF AUTHORITIES

                                                                                                                                              Page(s)
Cases

Celsis in Vitro, Inc. v. CellzDirect, Inc.,
    664 F.3d 922 (Fed. Cir. 2012) .................................................................................................................... 5

FilmTec Corp. v. Hydranautics,
    67 F.3d 931 (Fed. Cir. 1995) ...................................................................................................................... 5

I Globetrotter Software, Inc. v. Elan Computer Grp., Inc.,
    362 F.3d 1367 (Fed. Cir. 2004).................................................................................................................. 4

Invensys Sys., Inc. v. Emerson Elec. Co.,
    2014 WL 4477393 (E.D. Tex. July 25, 2014) .......................................................................................... 5

Team Worldwide Corp. v. Wal-Mart Stores, Inc.,
   2018 WL 2722051 (E.D. Tex. June 6, 2018) ........................................................................................... 5

Statutes

Idaho Code § 48-1701, et seq............................................................................................................................. 4




                                                                          - ii -
Case 2:22-cv-00293-JRG              Document 671 Filed 02/27/24                   Page 4 of 13 PageID #:
                                              62156


        Netlist respectfully requests that the Court consolidate Netlist, Inc. v. Micron Tech., Inc. et al., Case

No. 2:22-cv-203-JRG-RSP (“Micron I”) with Netlist, Inc. v. Micron Tech., Inc. et al., Case No. 2:22-cv-294-

JRG (“Micron II”) for purposes of trial. Specifically, Netlist requests that the parties proceed to trial

on April 22, 2024, on the two patents currently at issue in Micron II and one patent from each of the

two families currently at issue in Micron I.1 Doing so would allow for the efficient resolution of both

cases between Netlist and Micron. The parties are already prepared to try the patents in Micron I.

Consolidation would serve the interests of justice in four ways: First, Netlist is a products company.

For example, Netlist markets DDR5 products. DDR5 products are accused of infringement in Micron

I. The stay has a potential to delay for years the resolution of the Micron I dispute regardless of the

outcome of the PTAB proceedings. Second, Micron and Samsung are taking entirely inconsistent

positions as to claim scope before the PTAB and this Court. Regardless of the outcome of the PTAB

proceedings there will be an appeal to the Federal Circuit on the two patent families remaining in

Micron I. From a due process standpoint the stay of Micron I assists Micron and Samsung in

perpetuating this improper tactic, while a consolidated trial that includes one patent from each of the

Micron I families will allow the Federal Circuit to have full information on this inconsistency because

Micron’s experts will advance the inconsistent positions in open court. Third, the consolidated trial

will involve only four patents. The trial in Micron II is already scheduled. Netlist will not seek any

additional time by the expansion from two to four patents. As a result, there will be no appreciable

increase in docket burden on the Court. Fourth, Micron has begun initiating actions under an Idaho

statute claiming that the maintenance of patent claims against it by Netlist violates an “anti-troll”

statute it worked with the Idaho legislature to pass. Micron started doing so with patents that are part



        1
         Netlist understands that this action and the -293 action against Samsung are both set for the
same trial setting in April. The purpose of this motion is not to alter the order the Court determines
is most appropriate. Netlist stands ready to bring either action to trial on April 22, 2024.


                                                     -1-
Case 2:22-cv-00293-JRG              Document 671 Filed 02/27/24                 Page 5 of 13 PageID #:
                                              62157


of a stayed case in West Texas. Ex. 1 (Micron’s Idaho Complaint); Netlist, Inc. v. Micron Tech., Inc. et.

al., Nos. 22-cv-134 and 22-cv-136, Dkt. 68 (W.D. Tex. Apr. 28. 2021). Pending before this Court is a

separate declaratory judgment action seeking a declaration that the Micron I claims were brought

properly and consistent with Netlist’s constitutional rights. Netlist Inc. v. Micron Tech., Inc. et al., 2:23-

cv-00628 (E.D. Tex.), Dkt. 14 (First Amended Complaint) (the “Texas Constitutional Action”).

Micron has tried to run away from this Court by bringing a mirror-image claim in Idaho. The Texas

Constitutional Action under Micron’s view of the Idaho statute will require the adjudication of the

exact same issues as Micron I (the infringement and validity of the Micron I patents) and will proceed

regardless of the PTAB proceedings. Combining Micron I and Micron II and holding a trial on both in

April will inform the Texas Constitutional Action, because if the Court concludes based on the trial

presentation that Micron I was not a sham litigation, Netlist’s behavior is protected by the Constitution.

Micron has filed a second suit in Idaho that is a mirror-image of the Texas Constitutional Action. Put

simply, Micron does not seek to actually stay the Micron I patents pending the resolution of the IPRs,

it seeks to continue to litigate them, but simply desires to do so in Idaho.

        Netlist is mindful of the extraordinary pressure on this Court’s docket. But in light of the

above, an immediate trial on the Micron I and Micron II patents will not increase burden but decrease

it, especially in light of the Texas Constitutional Action.

I.      FACTUAL BACKGROUND

        Netlist filed Micron I on June 10, 2022, asserting, inter alia, that Micron’s DDR5 DIMMs

infringe Patent Nos. 11,016,918 and 11,232,054 (the “DDR5 Patents”), and that Micron’s HBM

products infringe Patent Nos. 8,787,070 and 9,318,160 (the “HBM Patents”).

        Netlist filed Micron II less than two months later, on August 1, 2022, asserting, inter alia, that

Micron’s DDR4 LRDIMMs infringe Patent No. 11,093,417 and Micron’s DDR4 LRDIMMs and

RDIMMs infringe Patent No. 7,619,912. Micron II was ultimately consolidated for pretrial purposes



                                                    -2-
Case 2:22-cv-00293-JRG               Document 671 Filed 02/27/24               Page 6 of 13 PageID #:
                                               62158


with Netlist, Inc. v. Samsung Elecs. Co., Ltd., et al., Case No. 2:22-cv-293-JRG.

         The pretrial conference in Micron II is set for March 6, 2024, and trial is currently set for April

22, 2024.

         Discovery in the two cases overlapped substantially. For example, Netlist and Micron agreed

that document productions from Micron I could be cross-referenced in Micron II. Ex. 2 at 1. Netlist

and Micron also agreed to cross-reference the deposition transcripts of most party witnesses. Ex. 3

at 1.2

         The Micron I case is ready for trial. The Court held pretrial conferences on December 20,

2023, and January 12, 2024. Judge Payne has resolved all outstanding Daubert motions, motions for

summary judgment, motions in limine, and trial exhibit objections. All pretrial procedures, disclosures,

and filings have been completed (such as deposition designations and proposed jury instructions).

         Micron I and Micron II also have almost complete overlap in expert witnesses. Netlist’s experts

in the two cases are:

        Netlist’s Experts in Micron I                         Netlist’s Experts in Micron II
 Mr. Kennedy                                            Mr. Kennedy

 Dr. Groehn                                             Dr. Groehn

 Dr. Mangione-Smith                                     Dr. Mangione-Smith

 Mr. Gillingham                                         Mr. Gillingham

 Dr. Brogioli


         Micron’s experts in the two cases are:

        Micron’s Experts in Micron I                          Micron’s Experts in Micron II
 Dr. Lynde                                              Dr. Lynde


         2
             Micron also agreed to cross-use of expert reports from Micron I. See Ex. 16 at 1.



                                                    -3-
Case 2:22-cv-00293-JRG              Document 671 Filed 02/27/24                 Page 7 of 13 PageID #:
                                              62159



 Mr. Halbert                                            Mr. Halbert

 Dr. Stone                                              Dr. Stone

 Dr. Woods

        And Micron’s trial witness list in Micron II is nearly identical to the final trial witness list Micron

served in Micron I. Compare Ex. 4 at 2-3 with Ex. 5 at 2. Netlist, too, identified the same witnesses for

Netlist on both witness lists (except Dr. Brogioli). See Ex. 6 at 1; Ex. 7 at 2-3.

II.     MICRON’S USE OF AN IDAHO STATUTE TO HARRASS NETLIST

        Netlist has brought two other patent infringement cases against Micron in the Western District

of Texas. Netlist, Inc. v. Micron Tech., Inc. et. al., Nos. 22-cv-134 and 22-cv-136 (W.D. Tex.). While these

cases were stayed pending inter partes review, Micron sued Netlist in Idaho—a state to which Netlist

has no connections—alleging bad faith patent enforcement under Idaho Code § 48-1701, et seq.. See

Ex. 1. Anticipating that Micron would continue to file serial bad faith suits in Idaho to force Netlist

to divert resources from its patent litigations in Texas, Netlist brought a declaratory relief action before

this Court seeking a declaration that suits pending against Micron in the Eastern District cases were

not brought in bad faith in violation of the Idaho statute. Netlist, Inc. v. Micron Tech., Inc. et. al., No.

2:23-cv-628-JRG (E.D. Tex.), Dkt. 1. A scheduling conference is set in Netlist’s declaratory relief

action for March 25, 2024. Id., Dkt. 15. As predicted, on January 16, 2024, Micron rushed back to

Idaho state court and filed a second bad faith claim, this time alleging that Netlist’s assertion of the

’918 and ’054 Patents in Micron I were brought in bad faith under Idaho Code § 48-1701, et seq.. Having

successfully stayed Micron I, Micron is now asking a court in Idaho to determine that Micron I was

brought in bad faith before Netlist has even had the opportunity to vindicate its claims before a jury.

In sum, Micron is not actually seeking to stay adjudication of the merits of Netlist’s patent claims, it

is simply hoping to litigate the issue in its preferred forum under the guise of a bad faith claim.

        To prevail on its bad faith claim, Micron must show that Netlist’s suits were a mere sham,



                                                    -4-
Case 2:22-cv-00293-JRG               Document 671 Filed 02/27/24                   Page 8 of 13 PageID #:
                                               62160


meaning they are “objectively baseless in the sense that no reasonable litigant could realistically expect

success on the merits.” I Globetrotter Software, Inc. v. Elan Computer Grp., Inc., 362 F.3d 1367, 1376 (Fed.

Cir. 2004) (quoting Prof'l Real Estate Investors, Inc. v. Columbia Pictures Indus., Inc., 508 U.S. 49, 57 (1993)).

If Netlist prevails in its infringement suits against Micron, then its suits by definition would not

constitute a mere “sham.” FilmTec Corp. v. Hydranautics, 67 F.3d 931, 936 (Fed. Cir. 1995) (“Obviously,

if the patentee is successful in his infringement action, his suit is not baseless, and it cannot be a

sham.”).

III.    ARGUMENT

        A.       Netlist Suffers Severe Prejudice by Micron’s Continued Infringement

        With respect to Micron I, Netlist has accused Micron’s DDR5 DIMMs of infringing Netlist’s

’918 and ’054 Patents. Netlist markets and distributes DDR5 products that customers can choose to

buy over Micron’s. See Ex. 8 at 3 (identifying DDR5 DIMMs for sale). Micron’s ability to compete

unlawfully by selling infringing products decreases demand for Netlist’s products. See Celsis in Vitro,

Inc. v. CellzDirect, Inc., 664 F.3d 922, 930 (Fed. Cir. 2012) (“Price erosion, loss of goodwill, damage to

reputation, and loss of business opportunities are all valid grounds for finding irreparable harm.”).

Netlist has also already undertaken considerable expense in preparing for two trial settings. Bringing

the Micron I patents to trial benefits the “public interest [due to] the ‘speedy resolution of disputes.’”

Team Worldwide Corp. v. Wal-Mart Stores, Inc., 2018 WL 2722051, at *4 (E.D. Tex. June 6, 2018); Invensys

Sys., Inc. v. Emerson Elec. Co., 2014 WL 4477393, at *3 (E.D. Tex. July 25, 2014) (“Firm trial settings

resolve cases and reduce litigation costs.”).

        The stay in Micron I has the potential to delay that case for years. Netlist is seeking director

review of the Final Written Decisions on the DDR5 Patents. See Exs. 9, 10. Netlist or Micron will

appeal the outcome of that decision. If the Federal Circuit sides with Netlist, it may remand to the

PTAB for further proceedings. Those further proceedings will themselves be appealed. If several



                                                      -5-
Case 2:22-cv-00293-JRG             Document 671 Filed 02/27/24                Page 9 of 13 PageID #:
                                             62161


years pass before Netlist bring Micron’s infringement of DDR5 products to trial, the damage to

Netlist’s products business will have already been done. DDR5 is a generational product, and analysts

expect the next generation (DDR6) to be available for purchase as soon as 2026.3

        B.        Consolidation at this Stage is the Most Efficient Avenue Forward for This Court
                  and the Federal Circuit

        Micron has taken inconsistent positions in the district court litigation and before the PTAB.

Instead of preparing its own petitions, Micron simply filed duplicate IPRs taking the same positions

as Samsung. See Micron I, Dkt. 275-2 (IPR2023-00405) (Micron’s challenge of the ’054 patent); Dkt.

275-04 (IPR2023-00406) (Micron’s challenge of the ’918 patent).              Those positions contradict

testimony and theories Micron is advancing in the Micron I trial. Micron is refusing to allow this

information to be presented to the PTAB because of the protective order entered by the Court, and

therefore the only way the Federal Circuit can be made aware of its inconsistent positions is via trial

of Micron I that will be public.

        For example, the relevant claims of the ’918/’054 Patents recite “a plurality of edge

connections configured to couple power, data, address and control signals between the memory

module and the host system.” See ’918 patent, 38:21-24 (claim 1), 39:56-59 (claim 16), 40:53-56 (claim

23), ’054 patent, 38:22-25 (claim 1); see also ’054 patent, 39:62-65, 40:13-15 (claim 16), 41:6-9, 41:22-25

(claim 24). In the joint IPRs for the ’918 and ’054 Patents, Micron initially relied on signals sent from

the on-module memory buffer to the memory devices to satisfy the limitation. E.g., Ex. 12 (IPR2023-

00406 Pet.) at 21-25. After Netlist pointed out the deficiency, Micron (together with Samsung) argued

for the first time in the Reply that even though the host sent only encoded packetized signals that

combined data, control and address information, and not distinct data, control and address signals,




        3
            See Ex. 11 at 8.



                                                   -6-
Case 2:22-cv-00293-JRG           Document 671 Filed 02/27/24              Page 10 of 13 PageID #:
                                           62162


the limitation is met. Ex. 13 (IPR2022-00996 (’918) Reply) at 7-9; see also e.g., Ex. 14 (IPR2022-00999

(’054) Reply at 8-10.




       Micron is also taking contradictory positions as to the HBM Patents. In the district court

litigation, Micron’s position is that




        But in the IPR, Micron argues that a particular TSV is only in selected communication with

1-2 of the dies in the stack, but not all dies in the stack, even though there are physical connections


                                                 -7-
Case 2:22-cv-00293-JRG            Document 671 Filed 02/27/24                Page 11 of 13 PageID #:
                                            62163


between the TSV and at least a transmission gate on the array die. Ex. 18 (IPR2022-01428 Reply) at

23-24 (see Figure 5 annotated by Defendants). According to Defendants, there is no electrical

communication because the TSV is disconnected from the SDRAMs (i.e., SDRAM memory cells)

with the transmission gate turned off. Id. at 23-25, 26-27.



                                                                    but in the IPR, Micron insisted that

there is no electrical communication if the TSV is not electrically coupled to array die circuits (which

according to Micron would exclude transistor-based transmission gate on the array die).

        The Federal Circuit will hear appeals regarding the DDR5 Patents and the HBM Patents

regardless of whether the parties go to trial. By trying these patents now, the Federal Circuit will have

the opportunity to not only resolve all disputes at the same time, but also have full information

regarding Micron’s inconsistent positions. This provides substantial benefits in the form of efficiency

for the parties, the district court, and the Federal Circuit. The alternative would have staggered appeals

and trials potentially years apart, leaving everyone with a morass that will potentially never be resolved.

Both parties deserve resolution now.

        C.      A Consolidated Trial Is Easily Managed

        As noted above, the parties have already expended considerable resources preparing for the

Micron I trial. Consolidating two patents with the Micron II trial promotes efficiency that benefits both

parties. Micron would not suffer any prejudice because it was prepared to go to trial earlier this month.

        There is also no legitimate concern regarding the manageability of adding two patents and two

accused product classes. This Court already held a trial in which Netlist asserted infringement of five

patents against DDR4 LRDIMMs, DDR5 DIMMs, and HBM products: Samsung I. Netlist, Inc. v.

Samsung Elecs. Co., Ltd., 2:21-cv-00463-JRG (E.D. Tex.). That trial was held efficiently and smoothly,

and was completed in five days. Moreover, Netlist had originally accused DDR4 LRDIMMs of



                                                   -8-
Case 2:22-cv-00293-JRG           Document 671 Filed 02/27/24                Page 12 of 13 PageID #:
                                           62164


infringement in Micron I, and so Micron had originally anticipated going to trial on three accused

product type classes.

        D.      Trial Would Resolve Micron’s Abusive Idaho Action

        As discussed above, Micron has asked a court in its home state to determine bad faith issues

relating from a patent infringement action brought in this Federal district court. That claim can be

fully resolved by a jury trial now, however. Even if the PTAB ultimately invalidates the ’054 and ’918

Patents and it is affirmed on appeal, a successful jury verdict would demonstrate that Netlist’s suit was

not a sham as this would, at the very least, show that Netlist’s belief that it could prevail was

“reasonable.” See, e.g., Areeda, Antitrust Law, 1982 Supp. ¶ 203.1.d. H (“If the . . . defendant's claim

was successful in the other forum, there is a strong presumption that its assertion cannot have been a

sham.”).

IV.     CONCLUSION

        Netlist respectfully requests the Court grant this motion.

Dated: February 20, 2024                          Respectfully submitted,

                                                  /s/ Jason G. Sheasby

                                                  Samuel F. Baxter
                                                  Texas State Bar No. 01938000
                                                  sbaxter@mckoolsmith.com
                                                  Jennifer L. Truelove
                                                  Texas State Bar No. 24012906
                                                  jtruelove@mckoolsmith.com
                                                  MCKOOL SMITH, P.C.
                                                  104 East Houston Street Suite 300
                                                  Marshall, TX 75670
                                                  Telephone: (903) 923-9000
                                                  Facsimile: (903) 923-9099

                                                  Jason Sheasby (pro hac vice)
                                                  jsheasby@irell.com
                                                  Annita Zhong, PhD (pro hac vice)
                                                  hzhong@irell.com
                                                  Andrew Strabone (pro hac vice)
                                                  astrabone@irell.com


                                                  -9-
Case 2:22-cv-00293-JRG            Document 671 Filed 02/27/24                Page 13 of 13 PageID #:
                                            62165



                                                 Yanan Zhao (pro hac vice)
                                                 yzhao@irell.com
                                                 Michael W. Tezyan (pro hac vice)
                                                 mtezyan@irell.com
                                                 IRELL & MANELLA LLP
                                                 1800 Avenue of the Stars, Suite 900
                                                 Los Angeles, CA 90067
                                                 Tel. (310) 277-1010
                                                 Fax (310) 203-7199

                                                 Rebecca Carson (pro hac vice)
                                                 rcarson@irell.com
                                                 IRELL & MANELLA LLP
                                                 840 Newport Center Drive, Suite 400
                                                 Newport Beach, CA 92660

                                                 Attorneys for Plaintiff Netlist, Inc.


                                   CERTIFICATE OF SERVICE

       I hereby certify that, on February 20, 2024, a copy of the foregoing was served to all Micron

counsel of record.

                                                         /s/ Jason Sheasby
                                                         Jason Sheasby

             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

filed under seal pursuant to the Protective Order entered in this Case.

                                                         /s/ Jason Sheasby
                                                         Jason Sheasby

                                 CERTIFICATE OF CONFERENCE

       I hereby certify that lead and local counsel for Netlist and Micron met and conferred on

February 19, 2024. Micron opposed Netlist’s request to consolidate the Micron I and Micron II trials.

The parties are at an impasse.

                                                         /s/ Jason Sheasby
                                                         Jason Sheasby



                                                - 10 -
